Case 18-42931        Doc 14     Filed 06/19/18     Entered 06/19/18 15:04:46       Main Document
                                                 Pg 1 of 2


                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 In Re:                                                )       Case No. 18-42931-705
                                                       )
 SHANNEL R. BALLARD MOORE,                             )       Chapter 7
                                                       )
                                                       )       TRUSTEE’S RESPONSE TO
                 Debtors,                              )       MOTION FOR RELIEF FROM
                                                       )       AUTOMATIC STAY
 SELECT PORTFOLIO SERVICING, INC.,                     )
 As servicer for, Deutsche Bank National               )       Hearing Date: July 17, 2018
 Trust Company, as Trustee, on behalf of the           )       Hearing Time: 9:30 a.m.
 Holders of the J.P. Morgan Mortgage                   )       Courtroom 7 South
 Acquisition Trust 2007-CH5 Asset Backed               )       Response Deadline: July 10, 2018
 Pass-Through Certificates, Series 2007-CH5,           )
                                                       )
 SHANNEL R. BALLARD-MOORE,                             )
                                                       )
 and                                                   )
                                                       )
 TRACY A. BROWN,                                       )
                                                       )
                 Chapter 7, Trustee,                   )
                                                       )
                 Respondents.                          )


       TRUSTEE’S RESPONSE TO MOTION FOR RELIEF FROM AUTOMATIC STAY

          COMES NOW Tracy A. Brown, Chapter 7 Trustee, and for her Response to the Motion

 for Relief from Automatic Stay filed by Select Portfolio Servicing, Inc., states as follows:

 1.       Trustee is investigating the value of the real estate and believes there may be equity

 available to pay unsecured creditors.

 2.       Trustee requests a continuance of 120 days on this matter to pursue a short sale.

          Trustee prays that this Court enter an Order denying Movant’s Motion for Relief.
Case 18-42931      Doc 14     Filed 06/19/18     Entered 06/19/18 15:04:46       Main Document
                                               Pg 2 of 2


                                               The Law Office of Tracy A. Brown, P. C.

                                      By:      /s/
                                               Tracy A. Brown #47074MO
                                               Trustee in Bankruptcy
                                               1034 S. Brentwood Blvd, Suite 1830
                                               St. Louis, MO 63117
                                               tab7@bktab.com
                                               (314) 644-0303
                                               (314) 644-0333 fax

                                       Certificate of Service

 I certify that a true and correct copy of the foregoing document was filed electronically on June
 19, 2018 with the United States Bankruptcy Court, and has been served on the parties in interest
 via e-mail by the Court’s CM/ECF System as listed on the Court’s Electronic Mail Notice List.

 I certify that a true and correct copy of the foregoing document was filed electronically with the
 United States Bankruptcy Court, and has been served by Regular United States Mail Service,
 postage fully pre-paid, address to those parties listed below on June 19, 2018:

 Shannel R. Ballard Moore
 Debtor
 3959 Thomas Drive
 St. Louis, MO 63134

                                                      /s/________________________________
                                                             Debbie Gibson
